     Case 2:13-cr-00066-SSV-KWR        Document 362   Filed 02/12/16   Page 1 of 13




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

UNITED STATES                                            CRIMINAL ACTION



VERSUS                                                   NO: 13-66



WALTER PORTER                                            SECTION: R



                                 ORDER AND REASONS

        Defendant Walter Porter moves the Court to suppress out-of-court and

in-court identifications by Bobby Basquine.1            Porter also requests oral

argument and an evidentiary hearing.2 Because Porter has failed to allege facts

indicating that impermissibly suggestive procedures were used to obtain

Basquine's identification, no hearing is necessary and his motion is denied.



I.      BACKGROUND

        Porter is charged with murdering Christopher Smith on November 21,

2010. Specifically, a second superseding indictment charges Porter with




        1
            R. Doc. 312-1.
        2
            R. Doc. 314.
  Case 2:13-cr-00066-SSV-KWR          Document 362     Filed 02/12/16   Page 2 of 13




committing murder-for-hire (Count 2) and causing death through a firearm

(Count 3), as well as conspiracy to possess firearms (Count 4).3

      On July 16, 2011, police arrested an individual named Basquine, who had

in his possession a 9mm handgun that was ballistically linked to the November

20, 2010 shooting death of Smith.               Basquine later stated that he had

purchased the handgun one to two months before his arrest from a man in a

Ford Taurus.4 Basquine described the seller as a tall, slim African-American

man, who had medium-to-light brown skin, a bald fade haircut, and a goatee.5

On October 21, 2011,6 FBI agents showed Basquine a six-person photo array

that included Porter's image.7 Basquine did not identify any of the images as

the person who sold him the handgun.8 The Government has neither located

the October 2011 photo array nor produced it to the defense.9




      3
          R. Doc. 99.
      4
          R. Doc. 3112-5 at 6 ("Basquine Grand Jury Testimony").
      5
          Id. at 15-16.
      6
       R. Doc. 312-4 at 5, n.1 (indicating that the six-person photograph array was
administered on October 21, 2011).
      7
          Basquine Grand Jury Testimony at 16-17.
      8
          Id. at 17.
      9
          R. Doc. 312-4 at 5.

                                            2
  Case 2:13-cr-00066-SSV-KWR         Document 362     Filed 02/12/16   Page 3 of 13




      Nearly one year later, on September 13, 2012, Basquine testified about

the handgun purchase before a grand jury. Basquine acknowledged that he

had not identified anyone in the October 2011 photo array but indicated that

he would "probably" recognize the seller if he could "see some pictures."10

According to the grand jury transcript, Basquine was then excused from the

grand jury room for a period of four minutes.11 During that time, he met with

two FBI agents and an Assistant United States Attorney, who asked him to

look through a binder containing 60 photographs and to identify "anyone who

looks familiar."12 According to Basquine's grand jury testimony, he "went

through all of the pictures, just from all the way through."13 Basquine did not

stop until he reached Porter's image, number 33 in the set.14

      Basquine then returned to the grand jury room, where he testified about

the identification he had just made. When asked what he had said to the FBI

agents upon seeing Porter's photograph, Basquine responded: "I asked them

was he tall. . . . And I said that that was the one. If he's tall, that's the right one


      10
           Basquine Grand Jury Testimony at 17.
      11
           Id. at 19.
      12
           Id.
      13
           Id. at 20.
      14
           Id. at 21.

                                           3
  Case 2:13-cr-00066-SSV-KWR    Document 362    Filed 02/12/16   Page 4 of 13




there. That's the one sold me the gun because that looks just like him."15

Later, Basquine was asked: "Otherwise, not knowing this person's height, does

that look like the guy that you just described earlier to this grand jury that

stepped out of that Taurus and sold you the gun."16 Basquine responded: "Yes,

sir."17 When asked whether the FBI agents had drawn attention to Porter's

photograph or "forced" him to select that image from the binder of

photographs, Basquine testified that they had not.18 And when asked whether

he had been pressured, threatened, or promised anything at all in exchange for

a positive identification, Basquine responded: "No."19

      Porter moves the Court to suppress all out-of-court and in-court

identifications by Basquine.    He argues that the law enforcement used

impermissibly suggestive procedures to obtain Basquine's identification of

Porter as the 9mm handgun's seller and that any identification testimony by

Basquine should be excluded as unreliable.




      15
           Id. at 20.
      16
           Id. at 22.
      17
           Id.
      18
           Id.
      19
           Id. at 22-23.

                                      4
  Case 2:13-cr-00066-SSV-KWR     Document 362    Filed 02/12/16   Page 5 of 13




II.    DISCUSSION

       The Supreme Court has held that the Due Process Clause of the Fifth

Amendment guarantees criminal defendants the right to exclude identification

testimony that results from unnecessarily suggestive procedures that are

conducive to mistaken identification. See Perry v. New Hampshire, 132 S. Ct.

716, 724-25 (2012); Stovall v. Denno, 388 U.S. 293, 302 (1967). The test for

determining the admissibility of an in-court identification is two-pronged.

First, a court must determine whether the pretrial identification procedure

was impermissibly suggestive. Neil v. Biggers, 409 U.S. 188, 198-99 (1972);

Livingston v. Johnson, 107 F.3d 297, 309 (5th Cir. 1997). If the identification

procedure was not impermissibly suggestive, the inquiry ends. See United

States v. Honer, 225 F.3d 549, 553 (5th Cir. 2000); Livingston, 107 F.3d at

309.    If the procedure was impermissibly suggestive, the Court must

determine "whether based on the totality of the circumstances, the [procedure]

posed a very substantial likelihood of irreparable misidentification." Honer,

225 F.3d at 553. The Supreme Court has set forth five factors that bear on the

likelihood of irreparable misidentification: (1) the witness's opportunity to

view the perpetrator at the time of the crime; (2) the witness's degree of

attention; (3) the accuracy of the witness's prior description; (4) the level of

certainty demonstrated when making the identification; and (5) the time

                                       5
  Case 2:13-cr-00066-SSV-KWR     Document 362    Filed 02/12/16   Page 6 of 13




between the crime and the identification. Biggers, 409 U.S. at 199-200; see

also United States v. Burbridge, 252 F.3d 775, 780 (5th Cir.2001).

      Porter gives three arguments for why the procedure used to obtain

Basquine's identification was impermissibly suggestive, none of which has

merit. First, Porter takes issue with the binder of photographs that FBI agents

showed Basquine on September 13, 2012.20 Porter notes that Basquine

initially described the person who sold him the 9mm handgun as a tall, slim

African-American man who had medium-to-light brown skin, a bald fade

haircut, and a goatee. He argues that the binder is impermissibly suggestive

because it contains photographs of individuals who "differ wildly" in

appearance from that description, including a number of women.21 The binder

that was presented to Basquine contains a total of 60 photographs.22 The large

number of photographs weighs against a finding of suggestiveness. As the

number of images grows, minor differences between the images become

diluted and less obvious, which reduces the likelihood that differences will

have a prejudicial effect on selection. United States v. Sanchez, 24 F.3d 1259,

1262-63 (10th Cir. 1994) (concluding that "[t]he lower the number of


      20
           R. Doc. 312-1 at 3.
      21
           Id. at 2.
      22
           R. Doc. 312-6.

                                      6
  Case 2:13-cr-00066-SSV-KWR     Document 362   Filed 02/12/16   Page 7 of 13




photographs used by officers in a photo array, the closer the array must be

scrutinized for suggestive irregularities"); cf. United States v. Sanchez, 988

F.2d 1384, 1389 (5th Cir. 1993) (noting that "exhibiting a single photograph

for identification purposes is impermissibly suggestive"). Moreover, although

the binder features some women, it contains over 40 photographs of African

American men, many of whom have medium-to-light skin tones, short hair,

and a goatee, just as Basquine initially described. Thus, even without those

photographs that are true outliers, the binder contains more than enough

plausible matches to Basquine's description that it is not impermissibly

suggestive. See United States v. Merkt, 794 F.2d 950, 958 (5th Cir. 1986)

(holding that an array that contained seven newspaper photographs and four

dissimilar "hard photographs" was not impermissibly suggestive because

"excluding the four hard photographs," the remaining images matched the

suspect's "general age and description").

      Second, Porter argues that the Court should apply a presumption of

suggestiveness because the Government has not produced the six-person

photo array that FBI agents presented to Basquine on October 21, 2011.23 In

support of this argument, Porter cites United States v. Honer, 225 F.3d 549



      23
           R. Doc. 312-1 at 4.

                                      7
  Case 2:13-cr-00066-SSV-KWR    Document 362    Filed 02/12/16   Page 8 of 13




(5th Cir. 2000). There, two eyewitnesses to a drug sale identified the

defendant from an array of several photographs, but the Government was

unable to produce the images that had been used during discovery or at trial.

Id. at 552. Reasoning that "when the government fails to preserve the

photographic array used in a pretrial line-up there shall exist a presumption

that the array is impermissibly suggestive," the court presumed the array to

have been invalid, even though there was no evidence that the Government

acted in bad faith. Id. at 553. Here, by contrast, the Government has

preserved and produced the 60-photograph binder from which Basquine

identified Porter. So the presumption of impermissible suggestiveness does

not apply. While it is true that the Government has not located the array that

Basquine viewed nearly one year earlier, on October 21, 2011, Basquine did not

identify Porter (or anyone else) from that array. Thus, regardless of whether

the missing array was conducive to misidentifications, it did not actually

produce an identification that would warrant suppression.

      Third, Porter argues that the use of Porter's photograph in two separate

photo arrays was impermissibly suggestive, particularly in light of the

"equivocal" nature of Basquine's identification and the "pressure" inherent in




                                      8
  Case 2:13-cr-00066-SSV-KWR         Document 362   Filed 02/12/16   Page 9 of 13




the circumstances under which the identification was made.24 As an initial

matter, Porter's characterization of Basquine's identification as "equivocal" is

misleading. After identifying Porter in the 60-photograph binder, Basquine

testified about the identification process. When asked what he had told law

enforcement about the Porter's photograph, Basquine responded: "I said that

that was the one. If he's tall, that's the one right there. That's the one sold me

the gun because that looks just like him."25 Later, Basquine was asked of

Porter's photograph: "Otherwise, not knowing this person's height, does that

look like the guy that you just described earlier to this grand jury that . . . sold

you the gun?"26 Basquine responded: "Yes, sir."27 Contrary to Porter's

contention, this testimony suggests directness and certainty, not equivocation.

      Porter's emphasis on the use of his photograph in two separate photo

arrays is also unavailing. In Nettles v. Wainwright, the Fifth Circuit held that

a lineup was not impermissibly suggestive, even though the witness viewed a

photo array shortly before the lineup and the defendant was the only person

who appeared in both the photographs and the lineup. 677 F.2d 410, 414 (5th


      24
           Id. at 3.
      25
           Basquine Grand Jury Testimony at 20.
      26
           Id. at 22.
      27
           Id.

                                           9
  Case 2:13-cr-00066-SSV-KWR     Document 362    Filed 02/12/16   Page 10 of 13




Cir. 1982). Other circuits have reached the same conclusion, reasoning that

while the successive use of the defendant's image is a factor to be considered,

it alone is not dispositive. United States v. Taylor, 825 F.2d 408, 1987 WL

38254, *2 (4th Cir. 1987) ("While this is, of course, one factor to consider, we

decline to hold that this factor alone makes the line-up suggestive."); United

States v. Davenport, 753 F.2d 1460, 1463 (9th Cir. 1985) ("The fact that

[defendant] was the only individual common to the photo spread and the

lineup cannot, without further indicia of suggestiveness, render the lineup

conducive to irreparable misidentification."); United States v. Briley, 726 F.2d

1301, 1306-07 (8th Cir. 1984) (holding that the fact that defendant was the

only person displayed in both a photospread and a lineup did not make

identification procedures per se suggestive). Here, although Basquine was

shown two photo arrays containing Porter's image, nearly one year passed

between the first showing in October 2011 and the second showing in

September 2012. Both the substantial passage of time and the large number

of images involved in the second showing negate the possibility that Porter's

presence in both arrays adversely affected the identification process. See

Taylor, 1987 WL 38254 at *2 (concluding that the passage of ten days between

the photospread containing defendant's image and the lineup at which

defendant was identified "mitigates against a finding of suggestiveness").

                                      10
  Case 2:13-cr-00066-SSV-KWR     Document 362     Filed 02/12/16   Page 11 of 13




      Finally, although Porter argues that Basquine was "pressure[d],"

Basquine's contemporaneous grand jury testimony suggests that he felt no

pressure whatsoever to identify anyone from the 60-photograph binder.

Minutes after selecting Porter's photograph, Basquine testified that he had

reviewed the photo binder carefully and methodically, beginning with the first

photograph and proceeding in order until hear reached Porter's image,

number 33 in the set. In describing his process, he stated: "I just went through

the pictures looking at the people. . . . I went from one all the way to 33."28

When asked whether the FBI agents who gave him the binder had drawn

attention to Porter's photograph or "forced" him to select that image, Basquine

testified that they had not.29 And when asked whether he had been pressured,

threatened, or promised anything in exchange for a positive identification,

Basquine responded: "No."30 Porter does not challenge Basquine's description

of his identification process; nor does he allege that Basquine lied to the grand

jury about the procedures involved. Thus, Porter has failed to allege facts that,

if proved, would warrant a finding that Basquine identified Porter under

impermissibly suggestive circumstances.


      28
           Id. at 21.
      29
           Id. at 22.
      30
           Id. at 23.

                                       11
  Case 2:13-cr-00066-SSV-KWR    Document 362    Filed 02/12/16   Page 12 of 13




      Because Porter has failed to carry his burden of establishing an

impermissibly suggestive procedure, the Court need not consider the second

prong of the test--whether Basquine's identification was nevertheless reliable.

Livingston, 107 F.3d at 309 ("If the identification procedure is not

impermissibly suggestive, the inquiry ends."); see also Sanchez, 24 F.3d at

1262 ("These two prongs must be analyzed separately, and it is only necessary

to reach the second prong if the court first determines that the array was

impermissibly suggestive."). The Court denies Porter's motion to suppress

evidence without an evidentiary hearing. See United States v. Harrelson, 705

F.2d 733, 737 (5th Cir. 1983) (concluding that "evidentiary hearings [on

motions to suppress evidence] are not granted as a matter of course, but are

held only when defendant alleges sufficient facts which, if proven, would

justify relief").




                                      12
 Case 2:13-cr-00066-SSV-KWR   Document 362   Filed 02/12/16   Page 13 of 13




III. CONCLUSION

     For the foregoing reasons, defendant's motion to suppress the out-of-

court and in-court identifications of Bobby Basquine is DENIED.



     New Orleans, Louisiana, this ___
                                  12th day of February, 2016.



                _____________________________

                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE




                                   13
